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                                No. 23-5600

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SIXTH CIRCUIT
                        ______________

    L.W., by and through parents and next friends, Samantha Williams and
                  Brian Williams, et al., Plaintiffs-Appellees,

                                    and

          UNITED STATES OF AMERICA, Intervenor-Appellee,

                                     v.

     JONATHAN THOMAS SKRMETTI, in his official capacity as the
   Tennessee Attorney General and Reporter, et al., Defendants-Appellants.
                            ______________

          On Appeal from the United States District Court for the
      Middle District of Tennessee (No. 3:23-cv-00376) (Richardson, J.)


   REPLY IN SUPPORT OF EMERGENCY MOTION FOR STAY OF
        PRELIMINARY INJUNCTION PENDING APPEAL


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                                  INTRODUCTION

      Preliminary injunctions are for clear cases. But the district court here, without

a word of encouragement from this Court, declared a new quasi-suspect class. Its

sex-discrimination analysis was premised on an extension of Bostock that Bostock’s

author says is “implausible on its face.” SFFA v. Harvard, 2023 WL 4239254, at

*59 (U.S. June 29) (Gorsuch, J., concurring). And its substantive-due-process logic

fails after Dobbs.

      As for irreparable harm, Plaintiffs surely know whether Vanderbilt has agreed

to resume treatment. Vanderbilt communicates with these patients via email. Cf.

Herner, VUMC ceases operations at pediatric transgender clinic, Nashville Post

(June 14, 2023), perma.cc/T9PG-RVHR. Yet Plaintiffs refuse to inform this Court

and hide behind the district court’s speculation, reasonably challenged by Tennessee,

that a preliminary injunction would cause Vanderbilt to resume treatment. The

district court manifestly erred by not giving Tennessee the evidentiary hearing it

requested to explore this.

      Without a stay, numerous children will suffer lifelong harms. Newly initiated

administration of puberty blockers and cross-sex hormones on physically healthy

minors will reduce their bone density, stunt mental development, and sterilize them.

This Court should issue a stay.




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                                    ARGUMENT

I.    Tennessee will likely succeed on appeal.

      A.     The Act is likely constitutional.

             1.       The Act equally protects minors of both sexes.

      Plaintiffs lean on Bostock’s Title VII reasoning about the hiring-and-firing of

employees. But the morning after the district court confidently declared that

Bostock’s “rationale is applicable to Plaintiffs’ equal protection claim,” Op., R.167,

PageID#2685, its author called such a move “implausible on its face,” SFFA, 2023

WL 4239254, at *59. Title VII, “enacted at the same time by the same Congress”

as Title VI, id. at *56, goes “beyond the Equal Protection Clause,” id. at *60.

      With Justice Gorsuch on Tennessee’s side, Plaintiffs resurrect an argument

from below that not even the district court adopted. Opp.4-5. Channeling Smith v.

City of Salem, Plaintiffs assert that Tennessee is discriminating based on a person’s

“fail[ure] to act and/or identify with his or her” sex—what Smith called “sex

stereotyping”—by propagating a stereotype that males and females are biologically

different. 378 F.3d 566, 574-75 (6th Cir. 2004). This Court has not applied this

stereotyping idea to medicine, and for good reason. Sex stereotypes concern whether

someone “wear[s] dresses or makeup,” not whether someone’s body is male or

female. Id. at 574.




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      Recognizing physical differences between the sexes “is not a stereotype.”

Nguyen v. INS, 533 U.S. 53, 68 (2001). Those differences are “enduring.” United

States v. Virginia, 518 U.S. 515, 533 (1996). They define sex itself. At the

Fourteenth Amendment’s ratification, “sex” meant the “physical difference between

male and female.” Webster, American Dictionary of the English Language (1865).

A female is an “individual of the sex among animals which conceives and brings

forth young,” while a male is of the “sex that begets or procreates young, as

distinguished from the female.” Id.

      The Act’s prohibitions are sex neutral. Referencing sex, as most abortion laws

do, is not sex discrimination. And Plaintiffs wrongly act as if Tenn. Code Ann.

§68-33-103(a)(1)(A) is the “only” prohibition in the Act. Opp.3-4. Neither sex can

use any puberty blocker or hormone for “[t]reating purported discomfort or distress

from a discordance between the minor’s sex and asserted identity.”

§68-33-103(a)(1)(B).

      The district court wrongly embraced the fallacy that a procedure provided to

one sex to treat gender dysphoria is always “the same procedure” when provided to

the other or when provided to treat physical disorders. Op., R.167, PageID#2683.

Both sexes use the same puberty blockers, so prohibiting them for gender dysphoria

does not even consider sex. See 18-States’ Br.3-4. Giving puberty blockers to a

12-year-old with healthy pituitary glands and sex organs causes the diseased state of

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hypogonadotropic hypogonadism; giving those same drugs to a 4-year-old

undergoing precocious puberty is not the same treatment because doing so restores

normal sex-gland functioning. Laidlaw Decl., R.113-7, PageID#1558-66.

      Plaintiffs similarly err in assuming that administering cross-sex hormones on

physically healthy children is the same as surgically treating a congenital defect or

providing hormones to children with physical disorders of sex development. Opp.5.

Boys and girls are physically distinct. For normal pubertal development, boys need

higher testosterone than girls. Giving testosterone to a 15-year-old boy to rectify his

testosterone deficiency is much different from giving a physically healthy girl such

high doses that her testosterone levels match a healthy boy, creating in girls the

diseased state of hyperandrogenism. Laidlaw Decl., R.113-7, PageID#1568-74.

Conversely, giving excess estrogen to physically healthy boys creates the diseased

state of hyperestrogenemia. Id. PageID#1575-76. Providing appropriate treatment

to each sex is not sex discrimination.

             2.     Transgender individuals are not a quasi-suspect class.

      Plaintiffs offer no good explanation why reasoning essential to Ondo v. City

of Cleveland’s holding—that homosexuals are not in a quasi-suspect class—should

not govern transgender persons. 795 F.3d 597, 609 (6th Cir. 2015). Transgender

status simply is not “definitively ascertainable at the moment of birth.” Id.

      Plaintiffs pivot to opinions that are nonprecedential or off-point. This Court

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has declined to apply cases like Harris Funeral Homes outside the Title VII context.

Meriwether v. Hartop, 992 F.3d 492, 510 (6th Cir. 2021) (“Harris does not resolve

this case.”); cf. Bostock v. Clayton Cnty., 140 S.Ct. 1731, 1754 (2021) (affirming

Harris’s judgment; disagreeing with its reasoning). Even the United States concedes

this Court has never “explicitly examined the question” of whether transgender

status is a quasi-suspect class. U.S. Mem., R.41, PageID#523. Ondo’s reasoning

controls.

      Even if Ondo were irrelevant, the Act does not discriminate based on

transgender status. The Act does not use the term “transgender” once and is hardly

comparable to de jure racial segregation. Opp.8. Plaintiffs offer no more than a bare

assertion that “cisgender minors” cannot experience gender dysphoria, Opp.8 n.3,

ignoring both the lax standards for diagnosis, U.S. PI Resp.8, R.135, PageID#2310,

and the treatment of detransitioners. Plaintiffs themselves acknowledge many

transgender minors do not use the prohibited treatments, Opp.8, creating a “lack of

identity” between transgender status and the treatments. Geduldig v. Aiello, 417

U.S. 484, 496 n.20 (1974). The classification here is by age.

             3.    Parents lack a fundamental right to subject their children to
                   such harmful procedures.

      Plaintiffs contort Kanuszewski in ways that are irreconcilable with the

Supreme Court’s rejection of the idea that “the right to refuse unwanted medical

treatment could be some-how transmuted into a right to” receive a specific treatment.
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Washington v. Glucksberg, 521 U.S. 702, 725-26 (1997). Their broadly defined

fundamental right would turn upside down the principle that the “state’s authority

over children’s activities is broader than over like actions of adults,” not narrower.

Prince v. Massachusetts, 321 U.S. 158, 168 (1944). Dobbs v. Jackson Women’s

Health Organization establishes that rational-basis review is the right standard for

health-and-safety measures. 142 S.Ct. 2228, 2245-46 (2022). So too here.

      A “state is not without constitutional control over parental discretion in

dealing with children when their physical or mental health is jeopardized.” Parham

v. J.R., 442 U.S. 584, 603 (1979). Among other laws, Tennessee prohibits elective

abortions of unborn children, Tenn. Code Ann. §39-15-213, and bans tattooing

minors even with parental consent, §62-38-211(a). Tennessee has an obligation to

“safeguard[]” children from medical abuses and give them “opportunities for growth

into free and independent well-developed men” and women. Prince, 321 U.S. at

165. The Fourteenth Amendment does not bar prohibiting chemical castration.

             4.     The Act survives any level of scrutiny.

      Plaintiffs urge the Court to “second-guess” Tennessee’s “medical and

scientific judgments.” Bristol Reg’l Women’s Ctr. v. Slatery, 7 F.4th 478, 483 (6th

Cir. 2021) (en banc). The district court was wrong to “depart[] from the normal rule

that courts defer to the judgments of legislatures” even “in areas fraught with medical




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and scientific uncertainties.” Dobbs, 142 S.Ct. at 2268. The Act, “like other health

and welfare laws, is entitled to a strong presumption of validity.” Id. at 2284.

      The paper testimony of Plaintiffs’ experts does not make the Act

unconstitutional. Plaintiffs do not clearly win the battle of the experts and should

not have received preliminary relief. Mot.14-17. For example, Plaintiffs cannot

explain the comprehensive literature reviews by national health authorities in Europe

making clear that the research regarding the safety and efficacy of hormonal and

surgical treatments for gender dysphoria in minors is, indeed, of poor quality and

that these treatments are experimental.           Román Decl.¶¶14-38, R.113-6,

PageID#1521-31; Cantor Decl.¶¶70-87, R.113-3, PageID#1125-34. There are in

fact no reliable studies that demonstrate the prohibited treatments improve mental

health relative to treatments, like counseling, that lack medical risk. Id.¶¶147-53,

177-200, PageID#1158-61, 1174-82. For risks, Plaintiffs have no response to how

hormone treatments are likely to sterilize children, especially when preceded by

puberty blockers. Laidlaw Decl.¶155-56, R.113-7, PageID#1576-77.

      The Act’s approach—postponing treatment until adulthood—is far better

tailored than WPATH’s unbounded approach. Some European countries allow these

procedures in controlled research settings, Opp.14, but the Fourteenth Amendment

does not require research exceptions. Plaintiffs have not claimed such research is

ongoing in Tennessee, and “facial attacks are not the proper procedure for

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challenging the lack of” an “exception.” Preterm-Cleveland v. McCloud, 994 F.3d

512, 529 (6th Cir. 2021) (en banc). A “prohibition on” these treatments for minors

was “the least restrictive way to further” Tennessee’s “compelling interest in

preventing” these identified harms. Id. at 548 (Bush, J., concurring).

      B.     The district court could not enjoin enforcement statewide.

      Plaintiffs concede that statewide relief must be “necessary” to remedy their

injuries, Opp.21, but they flunk that test.       Even crediting the district court’s

speculation (it is supposed to be Plaintiffs’ burden) that no healthcare provider would

treat Plaintiffs unless it could treat all minors, an injunction could have been limited

to Vanderbilt—minor Plaintiffs’ provider in Tennessee. Speculation is not enough

anyway. Kentucky v. Biden, 57 F.4th 545, 557 (6th Cir. 2023). Plaintiffs claim the

district court’s conjectures about Vanderbilt’s plans were “based on the court’s

thorough understanding of the record,” Opp.21, but they notably fail to cite anything.

There is nothing: no testimony from any provider, no study. The assertion is also

implausible on its face, since Plaintiffs’ own doctor still works at Vanderbilt

providing similar treatments to adults. Mot.18.

      As for other courts, Plaintiffs ignore that Doe v. Ladapo denied statewide

relief. 2023 WL 3833848, at *17 (N.D. Fla. June 6). They cite the Eighth Circuit,

but there Arkansas “failed to offer a more narrowly tailored injunction that would

remedy Plaintiffs’ injuries.” Brandt v. Rutledge, 47 F.4th 661, 672 (8th Cir. 2022).


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Tennessee offers two: An injunction limited to minor Plaintiffs, their parents, and

their providers; or one limited to Vanderbilt. The Eighth Circuit also said those

plaintiffs    satisfied   Salerno   and   faulted   Arkansas    for    identifying   only

non-applications of its statute. Id. Yet Tennessee identified real applications of the

Act that are undeniably constitutional; both the district court and Plaintiffs refuse to

explain why they are not. Mot.19-20. And unlike the Eighth Circuit, the court here

did not apply Salerno; it called that decision a “dead letter”—something Plaintiffs

do not defend. Op., R.167, PageID#2722. Regardless, Plaintiffs do not dispute that

even a successful facial challenge cannot justify unnecessarily granting relief to

nonparties.

       This Court should stay the preliminary injunction to the extent it is overbroad,

not leave it in place and “remand” without vacatur. Opp.22. If this injunction is

overbroad, then Tennessee is entitled to a stay. Plaintiffs got the injunction they

asked for. It is Plaintiffs’ fault they led the district court into error. (Neither Dr.

Lacy nor the United States has standing to obtain statewide relief, a point Plaintiffs

do not press on appeal.)

       C.      Plaintiffs still have not shown that a preliminary injunction was
               necessary to prevent their alleged harms.

       The district court implausibly found irreparable harm without an evidentiary

hearing. Though Plaintiffs belatedly suggest otherwise, Opp.20, the question below

was whether a preliminary injunction would cause Vanderbilt to treat Plaintiffs
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again. Vanderbilt is the provider that administered them the prohibited treatments.

Plaintiffs never submitted evidence about other in-state providers. By denying

Tennessee’s request for an evidentiary hearing on this material factual dispute, the

district court erred.

       Plaintiffs respond to this argument—one sufficient to vacate the preliminary

injunction—in a footnote. They say hearings are required only when facts are

“bitterly contested.” Opp.19 n.9. But the law does not turn on how “bitter” a dispute

is (obviously); it asks whether the dispute was “material.” Certified Restoration Dry

Cleaning Network, LLC v. Tenke Corp., 511 F.3d 535, 553 (6th Cir. 2007). The

debate over Vanderbilt’s plans was material (and bitter too).

       Vanderbilt’s declarations were anything but “plain.” Opp.20. Plaintiffs

ignore the inherent uncertainty that preliminary injunctions provide nonparties like

Vanderbilt and simply assert no provider would fear enforcement by Tennessee or

private lawsuits.       But the question is what Vanderbilt thinks, not Plaintiffs.

Vanderbilt’s declarations are, at best, ambiguous, Mot.21-22, and it is doubtful

Vanderbilt would trust Plaintiffs’ law-review article over the analysis of a Supreme

Court Justice, Opp.19 n.8. Tennessee had a right to test and explore Vanderbilt’s

ambiguous declarations through live testimony and cross-examination. Mot.22.

       Most tellingly, Plaintiffs know for certain whether Vanderbilt is, in fact,

treating them under the preliminary injunction. Yet they conspicuously refuse to

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provide the Court with that information. Their failure highlights how the district

court likely abused its discretion by sweeping this dispute under the rug, with no

explanation for why it cancelled the hearing.

II.   Tennessee suffers irreparable harm without a stay.

      Tennessee suffers irreparable harm because it cannot enforce its statute, even

though at least one non-Vanderbilt provider has committed to violating the Act.

Mot.23. Plaintiffs’ assertion that the law is “unconstitutional” begs the merits.

Opp.17. And it’s truer of Plaintiffs: With a few exceptions like free speech and

voting, denials of individual rights are not necessarily irreparable. Siegel v. LePore,

234 F.3d 1163, 1177 (11th Cir. 2000); Constructors Ass’n of W. Pa. v. Kreps, 573

F.2d 811, 820 n.33 (3d Cir. 1978).

      The district court gets no deference on a stay. Mot.6. This Court must make

its “own” equitable judgment. Trump v. Int’l Refugee Assistance Project, 582 U.S.

571, 580 (2017).     This Court should respect the well-supported judgment of

Tennessee’s elected representatives. Mot.14-17. Plaintiffs wrongfully downplay

experiences of detransitioners, Opp.18 n.6, testimony of Vanderbilt doctors about

the weaknesses of their practice, Mot.15-16, and a Tennessee parent who resisted

Vanderbilt’s pressure to transition his child, Noakes Decl., R.113-19,

PageID#2074-78.




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III.   Tennessee wins the balance of equities and public interest.

       The balance of equities favors letting Tennessee enforce its statute—

especially as to minors who haven’t sued. Mot.23-24. Every day the injunction

remains in place is another day providers will subject minors to the lifelong harms

of puberty blockers and cross-sex hormones, a combination likely to sterilize them.

Delayed justice through private suits cannot reverse minors’ chemical sterilization

or give them back lost adolescence.

       These treatments risk harms to Plaintiffs too, though the Act’s continuing-care

compromise lets them continue current treatments until March 31, 2024. Tenn. Code

Ann. §68-33-104(b)(1). Plaintiffs discount that exception to no avail. Plaintiffs

offered no evidence that they want any “new or alternative form” of treatment.

Opp.18. No plausible reading of the Act requires Plaintiffs to “titrate down” from

now until March. The only evidence about titration was that Plaintiffs could quickly

titrate off in, at most, eight-weeks’ time. Laidlaw Decl.¶¶257, 287, 298, R.113-7,

PageID#2155, 2161, 2163. Finally, that Vanderbilt “is ceasing care altogether as of

July 1”—a date that has already passed—favors Tennessee, not Plaintiffs. Opp.19.

Whatever is driving Vanderbilt’s choice, it is not provisions of the Act that

Defendants that are preliminarily enjoined from enforcing.




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                                 CONCLUSION

      This Court should stay the preliminary injunction as soon as possible.

                                     Respectfully submitted,


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                       CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the type-volume limitation of Fed. R.

App. P. 27(d) because it contains 2,600 words, excluding the parts exempted by Fed.

R. App. P. 32(f).

      This brief also complies with the typeface and type style requirements of Fed.

R. App. P. 27(d)(1)(E) because it has been prepared in proportionally spaced

typeface using Times New Roman 14-point font.


                                            /s/ Clark L. Hildabrand
                                            CLARK L. HILDABRAND
                                              Senior Counsel

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                           CERTIFICATE OF SERVICE

      I, Clark L. Hildabrand, counsel for Defendants-Appellants and a member of

the Bar of this Court, certify that, on July 6, 2023, a copy of the Reply in Support of

Emergency Motion for Stay of Preliminary Injunction Pending Appeal was filed

electronically through the appellate CM/ECF system. I further certify that all parties

required to be served have been served.

                                              /s/ Clark L. Hildabrand
                                              CLARK L. HILDABRAND
                                                Senior Counsel
